Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 1 of 9
Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 2 of 9
Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 3 of 9
Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 4 of 9
Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 5 of 9
Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 6 of 9
Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 7 of 9
Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 8 of 9
Case 18-09150   Doc 1   Filed 03/29/18   Entered 03/29/18 12:04:10   Desc Main
                           Document      Page 9 of 9
